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                                   STATEMENT OF FACTS

        Your affiant, Mark Tucher, is a Special Agent assigned to the Seattle Federal Bureau of
Investigation (FBI) Field Office, Tacoma Resident Agency. In my duties as a Special Agent, I
have been assigned to the Joint Terrorism Task Force of the Federal Bureau of Investigation’s
Seattle Division primarily investigating Domestic Terrorism matters. I have been with the FBI
since August 2021. I completed twenty-and-a-half weeks of training at the FBI academy,
including legal classes, investigative techniques, evidence preservation and collection, financial
related crimes, and computer related crimes. Through my training and experience, I am familiar
with the strategy, tactics, methods, ideology and practices of domestic terrorism and anti-
government extremists. Currently, I am tasked with investigating criminal activity in and around
the Capitol grounds on January 6, 2021. As a Special Agent, I am authorized by law or by a
Government agency to engage in or supervise the prevention, detection, investigation, or
prosecution of a violation of Federal criminal laws. I have participated in investigations involving
subjects at the U.S. Capitol, and as a result have become familiar with methods and techniques for
these investigations in addition to the processes for subject identification.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, S.E., in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.




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       Shortly thereafter, at approximately 2:20 p.m., members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        Earlier this day, at approximately 1:00 p.m., a crowd of violent rioters assembled on the
West Front of the United States Capitol. USCP formed a line of bike racks extending from the
north end of the West Front to the south end to act as a barrier against the crowd. Officers were
standing watch behind this line and fending off repeated attempts by the rioters to pull on the bike
racks, either with their hands or with ropes and straps.

       At approximately 2:00 p.m., some people in the crowd forced their way through, up, and
over the barricades and law enforcement. The crowd advanced to the exterior façade of the
building. The crowd was not lawfully authorized to enter or remain in the building and, prior to
entering the building, no members of the crowd submitted to security screenings or weapons
checks by USCP officers or other authorized security officials. At such time, the certification
proceedings were still underway, and the exterior doors and windows of the United States Capitol
were locked or otherwise secured. Members of law enforcement attempted to maintain order and
keep the crowd from entering the United States Capitol.

        At approximately 2:30 p.m., significant sections of the police line on and near the United
States Capitol’s Lower West Terrace broke as the rioters in the crowd swarmed and overwhelmed
the law enforcement officers. Some of the rioters were able to penetrate the scaffolding, a position
that gave them access to the stairs to the upper terraces where there are several key doors, including
the doorway to the Lower West Terrace, also referred to as the “tunnel.” Officers from the USCP
and the Washington, D.C. Metropolitan Police Department (MPD) formed a police line in the
tunnel blocking that entrance to the United States Capitol building and were repeatedly fending
off assaults by some of the rioters. At approximately 2:42 p.m., rioters began entering the tunnel
and ambushing the officers. The rioters broke the glass and forced the doors open. In response, the
USCP and MPD officers formed a police line blocking that entrance to the U.S. Capitol building.
From approximately 2:42 p.m. and on, numerous rioters were consistently attempting to breach
the police line that formed in the tunnel. The rioters used various weapons, as well as the force of
their bodies, in an attempt to overcome the officers. Many of the rioters assaulted MPD and USCP
officers by hurling objects towards the officers, physically striking officers with batons and other
blunt instruments, using lights to distract and disorient the officers, using electrical shock devices,
crushing officers between the doors and walls of the confined space, and by deploying chemical
sprays and fire extinguishers against the officers.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.




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  FACTS SPECIFIC TO RICHARD SLAUGHTER AND CADEN PAUL GOTTFRIED

       Based on an initial review of publicly available video footage, USCP surveillance footage,
and body worn camera (“BWC”) footage of officers who responded to the United States Capitol
on January 6, 2021, two white men, later identified as Caden Paul Gottfried and Richard Slaughter,
could be seen engaging in an assault against law enforcement officers guarding the United States
Capitol. Gottfried and Slaughter were among a large group of rioters engaging law enforcement
in an area known as the “tunnel.” The “tunnel” is a narrow point of entry on the Lower West
Terrace of the Capitol, circled below:




                                                  Figure 1


        Caden Paul Gottfried, along with his stepfather, Richard Slaughter, initially came to the
attention of the Seattle Division of the Federal Bureau of Investigation after an inflight incident
aboard an Alaska Airlines flight on January 7, 2021, related to mask non-compliance and
protesting the results of the 2020 election. Records from Alaska Airlines confirmed that both
Gottfried and Slaughter traveled together from Seattle to Philadelphia on January 4, 2021, and
were on Alaska Airlines flight 1085 from Washington, D.C. – Dulles to Seattle, Washington (SEA)
together on January 7, 2021. Records from Marriott Bonvoy Hotels also confirmed that Slaughter
had made a reservation at the Sheraton in Pentagon City, Virginia, for January 5-7, 2021.

       Slaughter was interviewed by FBI Agents in February 2021 and admitted to being at
Capitol building on January 6 th with Gottfried. Slaughter denied seeing any crimes being
committed, and stated that “conservatives don’t protest, they have jobs.” Slaughter also claimed
that Gottfried had been detained by police while at the Capitol.

        In April 2021, a confidential human source (CHS) identified Slaughter in footage from the
Capitol riots, providing links from Slaughter’s wife’s Facebook page containing images of
Slaughter at the Capitol on January 6, 2021, as well as links to an open-source video in which
Slaughter is shown near the Lower West Terrace tunnel. In one video, Slaughter is giving an
interview to another individual and states that he is looking for his son, Caden Gottfried. During
the interview, Slaughter states that he is from Washington State, and that he is at the Capitol
because, “this is the last resort, it was statistically impossible to lose this election, and there is just,
um, nauseating amounts of fraud, and it’s not being heard or seen, and we really have nothing



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left.” Slaughter goes on to state that, in response to how the events of January 6, 2021, end, “we
don’t leave. We stay united. And we take back our country.” 1

       A further review of U.S. Capitol video footage identified both Gottfried and Slaughter as
being around the Lower West Terrace tunnel on January 6.

        On January 6, 2021, a tall, white male wearing a red shirt, grey/white backpack, and a dark
beanie cap, who has been identified as Caden Paul Gottfried, can be seen moving to the front of
the riot line located at the Lower West Terrace tunnel entrance, where he engaged with law
enforcement officers guarding the United States Capitol prior to being detained by Metropolitan
Police Department (MPD) officers and transported to US Capitol Police for detention.




      At approximately 3:27 p.m., Gottfried could be seen filming with his cell phone among the
crowd gathered near the Lower West Terrace tunnel entrance. Attached to Gottfried’s is a Go-Pro
camera harness.
                       Figure 2                                            Figure 3




                                                   Figure 4


       Between approximately 3:27 and 3:42, Gottfried moved away from the quieter protestors
and towards the rioters positioned at the tunnel entrance. Gottfried moves to the front, while
protesters are surging against the police line and firing chemical irritants. Videos uploaded to
Youtube during this period show Gottfried participating in the surge, as seen in the figures below:



1
    Available https://twitter.com/CMominator/status/1438713500017336320.


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                   Figure 5                                          Figure 6




   Figure 7                      Figure 8                Figure 9                    Figure 10

        Around the same time, at approximately 3:32 p.m., a man wearing a blue “Trump 2020”
hat and a “Make America Great Again” sweatshirt, with a black gaiter covering his face, later
identified as Richard Slaughter, was standing among the crowd near the entrance to the tunnel.




                              Figure 11                             Figure 12


       Approximately two minutes later, Slaughter can be seen grabbing a police shield from
another rioter in the crowd and keeping the shield from a police officer.




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                            Figure 13                          Figure 14


        At approximately 3:40 p.m., Slaughter can be seen engaging with officers guarding the
tunnel. On body camera footage, around the same time, Slaughter is heard saying to officers at
the entrance “…You guys need to stand down. Just walk away nobody will fucking hurt any of
you… This is America. This isn’t fucking right. You fucking know it…. This has never been the
America I ever fucking known...”




                         Figure 15                              Figure 16




                                           Figure 17



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       At approximately 3:58 p.m., Slaughter can be seen struggling amongst other rioters and
then having a long pole in his hand which was covered by his black fingerless glove. Slaughter
continued to use the pole to attack officers guarding the front line of the tunnel.




                     Figure 18                                   Figure 19




                                           Figure 20




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                 Figure 21                                           Figure 22


        Footage from personal videos taken during the riot additionally showed Slaughter using a
pole to hit police officers. Specifically, in the above screen shots, Slaughter’s face and hands are
seen grabbing the pole and jabbing it towards the front line of officers. The gloves in the above
screenshots as well as the red sweatshirt are consistent with other images of Slaughter captured in
surveillance videos.




                                              Figure 23

       Another image from open source showed a close-up photo of Slaughter during that time
period pouring water on his face.




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                            Figure 24                              Figure 25

        At approximately 4:06 p.m., Slaughter handed chemical spray to another individual who
was later identified as Cody Mattice 2. Footage from Parler shows Slaughter with a pink/red
object in his hand, which appears to be OC spray. Slaughter hands the object to an individual
wearing a black hoodie, gray helmet, and sitting on the shoulders of another person.




                                        Figure 26                              Figure 27


        While Slaughter was attacking law enforcement in the front of the tunnel, Gottfried was in
the tunnel entrance engaging in an assault on law enforcement. At approximately 3:42 p.m., USCP
surveillance footage captured Gottfried standing in the front of the West Terrace Tunnel.




2
    Mattice has been sentenced in Case No. 1:21-cr-657(1) (BAH).


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                     Figure 28                                             Figure 29



        At approximately 4:00 p.m., Gottfried was in the tunnel pushing against the police line.
According to MPD Officer J.L., Gottfried was pushing against the police line with his back while
facing the crowd. Officer J.L. identified Gottfried as the younger of two man who were pushing
against the police line with their backs. During this time, Gottfried continues to engage with law
enforcement by using his bodyweight to push against the line of officers with his back.
Gottfried’s actions led officers to pull him through the police line and into the tunnel, where he
was then detained.




                                           Figure 30




                  Figure 31                                         Figure 32




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                                           Figure 33

       Body camera footage worn by MPD Officer J.L. captured Gottfried as he was being pulled
through the police line.




                                                Figure 34


       After being detained by MPD officers, Gottfried was escorted through the Capitol by USCP
officers before being moved to USCP Detention prior to his eventual release. U.S. Capitol Police
Sergeant O.B. identified Gottfried as being released from detention at approximately 6:50 p.m. on
January 6, 2021. Sergeant O.B. also provided Gottfried with a document memorializing
Gottfried’s detention, which included Gottfried’s known address in Orting, Washington.




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                    Figure 35                                  Figure 36




                                            Figure 37


        Utilizing screen shots from the U.S. Capitol and U.S. Capitol Police surveillance, MPD
body cameras, and other videos, and Slaughter’s driver’s license, a member of the community in
Orting, Washington, who is familiar with Richard Slaughter and works closely with him verified
the subject in the photos as Slaughter. Photos which were identified are listed below.




                                Figure 38                      Figure 39




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                       Figure 40                                 Figure 41


        Legal process was served on the phone numbers believed to be associated with Gottfried
and Slaughter. The number associated with Gottfried, ending 8334, showed several outgoing
calls on January 6, 2021, originating from Washington, D.C. In addition, the phone number
associated with Slaughter, ending 1094, made several calls to Gottfried during the time that
Gottfried was detained by law enforcement on January 6.

                                         CONCLUSION

         Based on the foregoing, I submit that there is probable cause to believe that Richard
Slaughter violated 18 U.S.C. §§ 111(a)(1) and (b), which makes it a crime to forcibly assault,
resist, oppose, impede, intimidate, or interfere with certain designated individuals, and to use a
deadly or dangerous weapon or inflict bodily injury during the commission of such acts. Within
the meaning of this statute, a designated individual is an officer or employee of the United States
or of any agency in any branch of the United States Government (including any member of the
uniformed services), while such officer or employee is engaged in or on account of the
performance of official duties, or any person assisting such an officer or employee in the
performance of official duties or on account of that assistance.

        I further submit that there is probable cause to believe that Caden Paul Gottfried violated
18 U.S.C. § 111(a)(1), which makes it a crime to forcibly assault, resist, oppose, impede,
intimidate, or interfere with certain designated individuals. Within the meaning of this statute, a
designated individual is an officer or employee of the United States or of any agency in any branch
of the United States Government (including any member of the uniformed services), while such
officer or employee is engaged in or on account of the performance of official duties, or any person
assisting such an officer or employee in the performance of official duties or on account of that
assistance.




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        I further submit there is probable cause to believe that Richard Slaughter and Caden Paul
Gottfried violated 18 U.S.C. § 231(a)(3), which makes it unlawful to commit or attempt to commit
any act to obstruct, impede, or interfere with any fireman or law enforcement officer lawfully
engaged in the lawful performance of his official duties incident to and during the commission of
a civil disorder which in any way or degree obstructs, delays, or adversely affects commerce or
the movement of any article or commodity in commerce or the conduct or performance of any
federally protected function. For purposes of Section 231 of Title 18, a federally protected function
means any function, operation, or action carried out, under the laws of the United States, by any
department, agency, or instrumentality of the United States or by an officer or employee thereof.
This includes the Joint Session of Congress where the Senate and House count Electoral College
votes.

        I further submit that there is probable cause to believe that Richard Slaughter violated 18
U.S.C. §§ 1752(a)(1), (2), (4), and (b)(1)(A), which makes it a crime to (1) knowingly enter or
remain in any restricted building or grounds without lawful authority to do; (2) knowingly, and
with intent to impede or disrupt the orderly conduct of Government business or official functions,
engage in disorderly or disruptive conduct in, or within such proximity to, any restricted building
or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct of
Government business or official functions; (4) knowingly engage in any act of physical violence
against any person or property in any restricted building or grounds; or attempts or conspires to do
so; and (b)(1)(A) to commit any of the aforementioned offenses with a deadly or dangerous
weapon or firearm. For purposes of Section 1752 of Title 18, a “restricted building” includes a
posted, cordoned off, or otherwise restricted area of a building or grounds where the President or
other person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

       I further submit that there is probable cause to believe that Caden Paul Gottfried violated
18 U.S.C. §§ 1752(a)(1), (2), and (4) which makes it a crime to (1) knowingly enter or remain in
any restricted building or grounds without lawful authority to do; (2) knowingly, and with intent
to impede or disrupt the orderly conduct of Government business or official functions, engage in
disorderly or disruptive conduct in, or within such proximity to, any restricted building or grounds
when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct of Government
business or official functions. For purposes of Section 1752 of Title 18, a “restricted building”
includes a posted, cordoned off, or otherwise restricted area of a building or grounds where the
President or other person protected by the Secret Service, including the Vice President, is or will
be temporarily visiting; or any building or grounds so restricted in conjunction with an event
designated as a special event of national significance.




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      Finally, I submit there is also probable cause to believe that Richard Slaughter and Caden
Paul Gottfried violated 40 U.S.C. § 5104(e)(2)(F), which makes it a crime to willfully and
knowingly engage in an act of physical violence in the Grounds or any of the Capitol Buildings.


                                            Respectfully submitted,


                                            _________________________________
                                            Special Agent Mark Tucher
                                            Federal Bureau of Investigation


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 30th day of September 2022.
                                                                 Digitally signed by Moxila A.
                                                                 Upadhyaya
                                            ________________________________________
                                                                 Date: 2022.09.30 15:06:43 -04'00'
                                            THE HONORABLE MOXILA A. UPADHYAYA
                                            UNITED STATES MAGISTRATE JUDGE




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